     Case 2:08-cr-00420-KJM-KJN Document 103 Filed 11/10/15 Page 1 of 3



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6    Attorneys for Defendant
     IVAN QUINTERO JIMENEZ
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 2:08-cr-420 WBS
12
                               Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
13                                                       TO REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     IVAN QUINTERO JIMENEZ,                              RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Hon. WILLIAM B. SHUBB

17             Defendant, IVAN QUINTERO JIMENEZ, by and through his attorney, Assistant Federal
18   Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through
19   its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On June 25, 2010, this Court sentenced Mr. Jimenez to a term of 168 months

25   imprisonment;

26             3.         Mr. Jimenez’ total offense level was 33, his criminal history category was III,

27   and the resulting guideline range was 168 to 210 months;

28

     Stipulation and Order Re: Sentence Reduction          1
     Case 2:08-cr-00420-KJM-KJN Document 103 Filed 11/10/15 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Jimenez was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Jimenez’ total offense level has been reduced from 33 to 31, and his amended
5    guideline range is 135 to 168 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Jimenez’ term of imprisonment to a term of 135 months.
8    Respectfully submitted,
9    Dated: November 4, 2015                            Dated: November 4, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt______                              /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           IVAN QUINTERO JIMENEZ
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     Stipulation and Order Re: Sentence Reduction          2
     Case 2:08-cr-00420-KJM-KJN Document 103 Filed 11/10/15 Page 3 of 3



1                                                    ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Jimenez is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 33 to 31, resulting in an amended
6    guideline range of 135 to 168 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in June 2010 is
8    reduced to a term of 135 months.
9              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
10   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
11   reduction in sentence, and shall serve certified copies of the amended judgment on the United
12   States Bureau of Prisons and the United States Probation Office.
13             Unless otherwise ordered, Mr. Jimenez shall report to the United States Probation Office
14   within seventy-two hours after his release.
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     Dated: November 10, 2015
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     Stipulation and Order Re: Sentence Reduction        3
